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                  UNITED STATES DISTRICT COURT

                 SOUTHERN DISTRICT OF GEORGIA

                           STATESBORO DIVISION
MARTELL ANTWON MINGO,

      Movant,

v.                                                   Case No. CV614-099
                                                              CR612-018
UNITED STATES OF AMERICA,

       Respondent.

                                       ORDER

       This case illustrates the power of a Court-provided form aimed at

avoiding costly hearings. 1 In its opening Order the Court preliminarily


1
     The form is called a “Notice of Post-Conviction Consultation Certification
(“Notice”) -- something routinely filed in cases before this Court. See, e.g., United
States v. Mills , CR614-017, doc. 18 (S.D. Ga. Oct. 16, 2014). As explained in Eason v.
United States , 2014 WL 4384652 (S.D. Ga. Sept. 3, 2014), and Ortega v. United
States , 2014 WL 3012657 (S.D. Ga. July 2, 2014), lawyers generally have a duty to
consult with their client about taking a direct appeal -- even in appeal-waiver cases.
See Ortega , 2014 WL 3012657 at *1 n. 2 (collecting cases); United States v.
Henderson , 2014 WL 4063930 at *2 (E.D. La. Aug. 13, 2014) (citing this Court’s
Notice form in granting a second-chance appeal: “It is clear that, even though
Henderson waived virtually all of his post-conviction and appellate rights, his
counsel's failure to file a requested notice of appeal constitutes per se ineffective
assistance of counsel.”).

   A lawyer’s failure to consult or respect his client’s wishes regarding an appeal
(and file the Notice proving that fact) can result in costly evidentiary hearings and
“second-chance appeals.” Hayes v. United States , 2011 WL 3468799 at * 5 n. 5 (S.D.
Ga. Aug. 9, 2011) (“It is not difficult to estimate that § 2255 motions like this cost the
taxpayers $10,000 or more, and in a time of record national debt.”), adopted, 2011
WL 4704219 (S.D. Ga. Oct. 6, 2011). The costs associated with conducting the
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reviewed Martell Antwon Mingo’s 28 U.S.C. § 2255 motion. CR612-018,

doc. 1049, reported at 2014 WL 4702577. In it he claimed that his

appointed lawyer, Thomas Charles Rawlings, ignored his instruction that

a direct appeal be filed. Doc. 1049 at 3. The Court thus directed

Rawlings to respond via affidavit. Id. at 4. Rawlings now swears that he

duly consulted with Mingo about his direct appeal rights just after the

Court sentenced him. Doc. 1050 at 2.2 Mingo, he says, signed the Notice

-- electing not to appeal. Id. at 2-3. Rawlings then handed the Notice to

the courtroom deputy to file, but it is not in the record. Id. at 2-3. 3

      The Court then directed Mingo to sign, under 28 U.S.C. § 1746, a

statement affirming or rebutting Rawlings’ attestations. Doc. 1051.

Mingo has complied. His statement, in its entirety:

    After being sentenced Thomas Rawlings and I agreed that it was
    harsh and we were going to oppose the final decision. The only
    possible way would be with a direct appeal and he said it would be
    handled in the proper manner. However, after months of waiting
    to hear from him on the status of my appeal[,] I subsequently

hearing (appointment of counsel for defendant, transporting him from a distant
prison, burdening the court's time and limited resources) are avoided where defense
counsel simply files the Notice reflecting his client's wishes regarding an appeal.”).
2
 Furthermore, says Rawlings, Mingo never asked him to file an appeal, even when
the two later conferred about a prison transfer. Doc. 1050 at 3.
3
  The deputy’s sentencing “Minutes” form has a preprinted “Notice of Counsel’s
Post-Conviction Obligations Provided” line on it. It is unchecked. Doc. 831.

                                          2
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    learned that no appeal had been filed as requested. Had I known
    that Thomas Rawlings was not going to file the appeal on my
    behalf, I could have filed [it] myself in a timely manner. When
    Thomas Rawlings and I spoke again[,] I was well aware that my
    time limit was up after doing some legal work myself. He stated
    [that] I waived my rights as part of my plea deal[,] which is
    incorrect to my knowledge. 4 He also informed me that I was
    eligible for the new laws coming into effect. Therefore, I rebut
    Thomas Rawlings[’] statement about me choosing to waive my
    direct appeal.

Doc. 1057 at 1-2 (footnote added).

      Normally, the Court would appoint new counsel for Mingo and

direct the Deputy Clerk to schedule an evidentiary hearing to resolve the

factual conflict. However, up to this point it has been reviewing Mingo’s

§ 2255 motion under Rule 4(b) of the rules governing 28 U.S.C. § 2255

proceedings. The Government has not been given a chance to respond.


4
  In fact, just after Mingo was sentenced, Rawlings reminded him of that fact -- after
the sentencing judge noted same. Doc. 1055 at 18 (“I have explained to Mr. Mingo
that he has waived his right to appeal because his sentence is within the
Guidelines.”); see also id. at 15 (“And also, the Court is mindful that he has waived
his appellate rights. . . .”).

    Perhaps Mingo is adverting to the fact that, despite his double waiver, he may still
appeal on very limited grounds. Winthrop-Redin v. United States , 767 F.3d 1210, ___,
2014 WL 4699391 at * 4 (Sept. 23, 2014) (a conviction is open to collateral attack if it
is based upon a plea induced by promises or threats that deprive it of the character of
a voluntary act); Holland v. United States , 2014 WL 5241531 at * 2 (S.D. Ga. Oct. 14,
2014) (§ 2255 movant’s “double waiver precludes all IAC claims except those going to
the validity of his guilty-plea agreement (e.g., that counsel misled or coerced his
client into pleading guilty/waiving his rights, or in some way materially bungled the
plea offer to the extent that a client would not knowingly and intelligently accept
it).”).
                                           3
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Hence, the Court will first hear from it within 30 days of the date this

Order is served.

     SO ORDERED , this 23rd day of October, 2014.


                                   UNITED STATES MAGISTRATE JUDGE
                                   SOUTHERN DISTRICT OF GEORGIA




                                     2
